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EVANS HOTELS, LLC, a California
limited liability company,

Plaintiff,
v.
UNITE HERE! LOCAL 30
Defendant.

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

CASE NO. lS-CV-2763-H-KSC

NOTICE ()F APPEARANCE OF
STEPHEN P. BERZON

 

 

NOTICE OF APPEARANCE OF STEPHEN P. BERZON;
Case No. lS-cv-2763-H-KSC

 

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TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
PLEASE TAKE NOTICE THAT Stephen P. Berzon of the firm
ALTSHULER BERZON LLP, hereby appears as counsel of record on behalf of
Defendants Torn Lernrnon and San Diego County Building and Construction Trades
Council. Effective immediately, please add Stephen P. Berzon as an attorney to be

noticed on all matters at the following address:

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Dated: February 14, 2019` Respectfully submitted,

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Stephen P. Berzon

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NOTICE OF APPEARANCE OF STEPHEN P. BERZON;
Case No. 18-cv-2763-H-KSC

 

 

 

